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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

  THE STATE OF TEXAS, et al.,                    §
                                                 §
         Plaintiffs,                             §
  v.                                             §       Civil Action No. 4:20-cv-00957-SDJ
                                                 §
  GOOGLE LLC,                                    §
                                                 §
         Defendant.                              §



  STIPULATION AND PROPOSED ORDER FOR REPRODUCTION OF DISCOVERY

        This stipulation and proposed order is entered into by Plaintiffs and Defendant Google

 LLC. It is stipulated and agreed by Plaintiffs and Google, and ordered by the Court, that:

        (1)     Subject to and consistent with Paragraphs 25 through 27 of the Modified Protective

                Order (entered as docket entry 203 in United States v. Google LLC, No. 1:23-cv-

                00108 (E.D. Va.) (“EDVA Action”)) in the EDVA Action, Google shall reproduce

                in this case productions that any non-party in the EDVA Action (“EDVA Non-

                Parties”) made in connection with the EDVA Action (to the extent not already

                shared with Plaintiffs in this case) or the United States’s related pre-suit

                investigation into Google. To the extent any of these materials were designated as

                “Confidential” or “Highly Confidential” under the Modified Protective Order in the

                EDVA Action, they shall be treated as “Confidential” or “Highly Confidential,” as

                designated, under the Confidentiality Order governing this case (ECF No. 182).

        (2)     Subject to and consistent with Paragraphs 25 through 27 of the Modified Protective

                Order in the EDVA Action, Google shall reproduce in this case copies of all



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               unredacted transcripts and exhibits of EDVA Non-Party depositions that were taken

               in the EDVA Action. To the extent any portions of these transcripts and exhibits

               were designated as “Confidential” or “Highly Confidential” under the Modified

               Protective Order in the EDVA Action, they shall be treated as “Confidential” or

               “Highly Confidential,” as designated, under the Confidentiality Order governing

               this case (ECF No. 182).

        (3)    Any EDVA Non-Party that wishes to object to the reproduction of the materials

               described in Paragraphs 1 and 2 of this Order shall seek a protective order with this

               Court within 7 days of Google’s service of this Order on that EDVA Non-Party. If

               no such protective order is sought or if a protective order is sought and denied, the

               Parties will be able to use and rely on that EDVA Non-Party’s materials in this case.

               Any reproductions of EDVA Non-Party’s materials shall be made within five

               business days of the above-described 7-day period or, if applicable, within five

               business days of the denial of the motion for protective order.

        (4)    All materials reproduced by Google as described in Paragraphs 1, 2, and 3 of this

               Order, as well as all materials directly produced by EDVA Non-Parties in this case,

               can be used in this case as if they were produced by the EDVA Non-Party in this

               case before the close of fact discovery in this case.

        It is so stipulated, through parties’ respective counsel, and Ordered by the Court on this

 ___ day of April, 2024.



                                                              Sean D. Jordan
                                                              United States District Judge




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                                  CERTIFICATE OF SERVICE

        I certify that, on April 23, 2024, this document was filed electronically in compliance with
 Local Rule CV-5(a) and served on all counsel who have consented to electronic service, per Local
 Rule CV-5(a)(3)(A).

                                                                                  /s/ R. Paul Yetter
                                                                                      R. Paul Yetter




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